                          IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                   WESTERN DNISION
                                     No.5:06-CV-185-D


FREDERICK AIKENS,                          )
                                           )
                        Plaintiff,         )
                                           )
                 v.                        )                    ORDER
                                           )
WILLIAM E. INGRAM, JR., et aI.,            )
                                           )
                        Defendants.        )

       On Septerrlber 14, 2007, the court entered a judgment dismissing plaintiffFrederick Aikens'

("Aikens" or "plaintiff') amended complaint against defendants William E. Ingram, Jr. ("Ingram")

and Peter von Jess ("Von Jess") [D.E. 61]. On March 31,2008, plaintiffmoved for relief from the

judgment pursuant to Federal Rule of Civil Procedure 60(b)(6). On April 21, 2008, defendants

Ingram and von Jess (collectively "defendants") responded in opposition. For the reasons discussed

below, plaintiffs motion is denied.

                                                I.

       Plaintiff was a long-time member of the North Carolina Army National Guard. See Am.

CompI. ~~ 7-8. Before October 15,2001, plaintiff was the executive officer of the 139th Rear

Operations Center, a North Carolina National Guard unit. Id. ~~ 11-12. In October 2001, Ingram

was the Adjutant General ofthe North Carolina National Guard and, as such, was plaintiff s superior

officer. See ide ~ 12. On or about October 15, 2001, Ingram informed Aikens that he was to be

promoted to full colonel and commanding officer ofthe 139th Rear Operations Center, and that he

could pick his replacement as executive officer. Id. However, before Aikens could make his choice,

Ingram named von Jess as the executive officer. Id.




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       Von Jess caused tension in plaintiffs unit. See ida ~~ 13-15. In Decerrlber 2001, plaintiff

began to receive complaints about von Jess, and by March 2002, nearly every field-grade officer in

plaintiffs unit had complained to plaintiff about von Jess. Id. ~ 13. In May 2002, von Jess and

Major David Culbreth ("Culbreth") had an altercation, and Culbreth filed a written complaint

regarding von Jess. Id. ~ 14.

       On July 15, 2002, plaintiff disciplined von Jess in his officer evaluation report. Id. ~ 15.

Plaintiff also recounted this disciplinary action against von Jess in another officer evaluation report

that covered the period up to December 31, 2002. Id. ~ 17. In March 2003, Ingram invalidated

plaintiffs officer evaluation report ofvon Jess and had another officer submit an evaluation of von

Jess. Id. ~ 18. Plaintiff complained to the Department of Defense, and the Army Inspector General

found that Ingram had exercised undue command influence over von Jess' officer evaluation report.

Id. ~~ 19-20. Eventually, von Jess left plaintiffs unit. See ida ~ 28.

       In January 2003, plaintiff s superiors advised plaintiffthat his unit would be called to active

dllty and deployed to the Iraqi theater. Id. ~ 21. On April 21, 2003, plaintiff and his unit arrived at

Camp Doha, Kuwait, to assist in Operation Iraqi Freedom. Id. ~~ 25-26. While in Kuwait, plaintiff

used a Department of Defense computer system. See ida ~~ 23-24, 27-28. Brian McCarthy

("McCarthy") and Paul Jones ("Jones"), both soldiers under plaintiffs command, set up and

maintained the computer system. Id. ~~ 23, 27.

       On or about April 21, 2003, Ingram ordered McCarthy and Jones to intercept plaintiff s

personal e-mailsthatplaintiffsentfromthecomputersystem.Id. ~ 29. Ingram ordered McCarthy

and Jones to send plaintiffs personal e-mails to von Jess, who was in North Carolina, no longer in

plaintiffs unit, and not on active duty. See ida ~~ 28-30. Ingram also received the intercepted e­



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mails. See ide ~~ 30, 36. Ingram, McCarthy, Jones, and von Jess did not have authority to intercept

or read the e-mails. See ide ~~ 24, 28, 35, 43-44.

        The intercepted e-mails contained damaging statements that plaintiff and Culbreth made

about others, including Ingram. See ide ~~ 31-32,34. Ingram forwarded the e-mails to plaintiffs

commanders, and made various allegations about plaintiffto plaintiff s commanders. See ide ~ 31.

These allegations (in part) resulted in various investigations of plaintiff. See ide ~~ 32-33, 37-38,

40-41. Plaintiff resigned from the North Carolina National Guard and the United States Army,

effective June 6, 2005, and was transferred to the retired Reserve, effective August 31, 2005. Id.

~ 45.


        Culbreth was dismissed from the North Carolina National Guard based on the e-mails he had

exchanged with plaintiff. See ide ~ 34. On October 1, 2004, Culbreth filed suit against Ingram and

several others. See Culbreth v. Ingram, 389 F. Supp. 2d 668, 671 (E.D.N.C. 2005). Culbreth

alleged various harms flowing in part from Ingram, Jones, McCarthy, and von Jess' unauthorized

interception ofAikens' e-mails.Seeid.at 671-72. Culbreth's counsel is also plaintiff s counsel in

this case. See ide at 671.

        In Culbreth's case, the defendants argued that Culbreth's complaint should be dismissed

because Culbreth had not exhausted his intraservice remedies in that Culbreth did not bring his

claim before the Army Board for Correction of Military Records ("ABCMR"). See ide at 673-74.

Culbreth responded that he had no intraservice remedies to exhaust, because the ABCMR had no

jurisdiction in his case. See ide at 674. Culbreth reasoned that "there was no federal involvement

whatsoever . . . and that as such there [was] no federal record for the ABCMR to correct." Id.

Specifically, Culbreth argued that he "was serving an [Active Guard Reserve] tour of duty under



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Title 32 [of the United States Code], and he was therefore a member of the state National Guard

under state control serving in a state status." Id.

       In Culbreth, Judge Howard declined to decide the exhaustion issue. See ide at 675. Instead,

Judge Howard analyzed Mindes v. Seaman, 453 F.2d 197 (5th Cir. 1971), and held that the court

should not interfere with the matters set forth in Culbreth's complaint. See Culbreth, 389 F. Supp.

2d at 673-78. Judge Howard entered his order on September 29, 2005. Id. at 668.

        On April 27, 2006, plaintiff filed his original complaint. CompI. 9. He amended his

complaint on May 4, 2006. Am. CompI. 9. Plaintiff sued Ingram, von Jess, McCarthy, and Jones,

all in their individual and official capacities. Id. at 1. Plaintiffbrought causes ofaction for invasion

ofprivacy, violationof42 U.S.C. § 1983, and a claim under Bivens v. Six Unknown Named Agents,

403 U.S. 388 (1971). Am. CompI. ~~ 46-62. All defendants moved to dismiss on various grounds.

        The court held oral argument on September 5, 2007. At oral argument, plaintiffclarified that

his claims against Ingram and von Jess are based solely on section 1983 and the Fourth Amendment.

On September 13, 2007, the court dismissed plaintiffs complaint. See Aikens v. Ingram, 513 F.

Supp. 2d 586, 588 (E.D.N.C. 2007). The court dismissed plaintiffs claims against Ingram and von

Jess because plaintiff had not exhausted his intraservice remedies inasmuch as he had not brought

his claims before the ABCMR. See ide at 590-93. The court dismissed plaintiffs claims withollt

prejudice so that plaintiff could exhaust his intraservice remedies with ABCMR. Id. at 594. The

court stated that "[i]fthe ABCMR does not have jurisdiction, it will take no action and plaintiffmay

return to federal court." Id. at 592. On September 14, 2007, the court entered a judgment

dismissing the amended complaint against Ingram and von Jess without prejudice [D.E. 61].

        On October 10, 2007, plaintiffsubmitted his claim to the ABCMR. See PI. 's Mem. in Supp.



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of Mot. for Relief of J. or Order [hereinafter "Pl.'s Mem."], Ex. A. On February 6, 2008, the

ABCMR determined that plaintiffs claims were "not within the purview of the ABCMR." Id.

       On March 31, 2008, plaintiff filed a motion for relief from the court's September 13, 2007

judgment and order [D.E. 62]. Plaintiff argues that the court should grant his motion for Rule

60(b)(6) relief because "[p]laintiffhas now complied with the [court's order requiring] exhaustion

ofintraservice remedies and should, therefore, be allowed to return to federal court." Pl.' s Mem. 2.

Plaintiffs motion requests relief only as to defendants Ingram and von Jess. See ide ("Plaintiff

respectfully requests that the Court grant relief .... Specifically, in light ofthe fact that the ABCMR

does not have jurisdiction, the Plaintiff requests that this matter be revisited and Defendant Ingram

and von Jess' motion to dismiss be denied."); Ingram's & von Jess' Resp. to Pl.'s Mot. for Relief

from J. or Order 6 [hereinafter "Defs.' Mem."] ("Ingram and von Jess assume ... that Aikens seeks

relief from the Court's order and judgment only to the extent they dismiss Aikens' amended

complaint against them."). Plaintiff does not seek relief under Rule 60(b)(6) as to defendants

McCarthy and Jones.

                                                  II.

       In order to obtain relief under Rule 60(b)(6), the moving party initially must show (1)

timeliness, (2) a meritorious claim or defense, (3) lack of prejudice to the opposing party, and (4)

exceptional circumstances.    See,~, Heyman v. M.L. Mktg. Co., 116 F.3d 91, 94 n.3 (4th Cir.


1997); Nat'l Credit Union Admin. Ed. v. Gray, 1 F.3d 262, 264 (4th Cir. 1993); Dowell v. State

Farm Fire & Cas. Auto. Ins. Co., 993 F.2d 46, 48 (4th Cir. 1993); see also Ackermann v. United

States, 340 U.S. 193, 199 (1950). If these threshold requirements are met, the court examines

whether "any other reason ... justifies relief' under Rule 60(b)(6). See Dowell, 993 F.2d at 48.



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       Defendants contend that plaintiffdid not make his Rule 60(b)(6) motion within a "reasonable

time," that defendants will be unfairly prejudiced if the order and judgment are vacated, and that

"exceptional circumstances" are not present. See Defs.' Mem. 7-11. Initially, the court addresses

whether plaintiff has established "exceptional circumstances."

       To establish "exceptional circumstances," the moving party must show that it is without fault.

See Pioneer Inv. Servs v. Brunswick Assoc., 507 u.S. 380, 393 (1993); Nat'l Credit Union Admin.

Board, 1 F.3d at 266. The Supreme Court and the Fourth Circuit have denied Rule 60(b)(6) relief

when the moving party made a tactical choice that later proved unwise.     See,~, Ackerman, 340


U.S. at 200 (denying relief based on "voluntary, deliberate, free, untrammeled choice"); Schwartz

v. United States, 976 F.2d 213, 218 (4th Cir. 1992) ("[S]trategic decisions made during the course

of litigation provide no basis for relief under 60(b)(6), even though with hindsight they appear

wrong."); see also Good Luck Nursing Homes, Inc. v. Harris, 636 F.2d 572, 577 (D.C. Cir. 1980)

(Fed. R. Civ. P. 60(b)(6) may not "be employed simply to rescue a litigant from strategic choices that

later turn out to be improvident."). The Fourth Circuit has recently reaffirmed the "exceptional

circumstances" requirement, thus reinforcing the limited scope ofRule 60(b)(6) relief. See Wadley

v. Equifax Info. Servs., LLC, No. 07-2046, 2008 WL 4542842, at *2 (4th Cir. Oct. 9, 2008) (per

curiam) (unpublished) (determining that change in law that served as basis of district court's ruling

did not constitute "extraordinary circumstances").

       As discussed, plaintiff s counsel also represented Culbreth in his case against Ingram. In

Culbreth, the defendants argued that Culbreth failed to exhaust administrative remedies with

ABCMR. 389 F. Supp. 2d at 673. Judge Howard did not reach that issue, but noted that the federal

ABCMR did not appear to have authority over Culbreth's claims because he was in Title 32 state



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status during the relevant time frame. Id. at 675 ("The court has not been able to reach a

determination of whether the ABCMR has jurisdiction or could afford [Culbreth] relief in this

case."). Judge Howard entered his order on September 29, 2005. Id. at 668.

       Plaintiff(via plaintiffs counsel) obviously was well acquainted with Culbreth and the issues

involved when plaintiff filed his complaint on April 27, 2006. Further, in plaintiffs case (unlike

Culbreth's), plaintiffwas federalized during the relevant time frame. See Am. CompI. , 39; Aikens,

513 F. Supp. 2d at 588-89. Plaintiffand his counsel therefore must have known that he would face

the ABCMR exhaustion issue in his case. Cf. Aikens, 513 F. Supp. 2d at 590-93.

       In this court's order ofSeptember 13, 2007, the court dismissed plaintiff s complaint without

prejudice, in order to permit plaintiffto exhaust his intraservice administrative remedies. See ide at

591-92. In doing so, this court acted in accordance with a veritable wall ofFourth Circuit precedent

requiring such exhaustion. Id. at 591 (collecting cases). The court noted that "[i]fthe ABCMR does

not have jurisdiction, it will take no action and plaintiffmay return to federal court." Id. at 592. In

making this observation, the court was not implying that plaintiffcould return to court in this action.

Rather, the court was making the unremarkable observation that if the ABCMR determined that it

lacked jurisdiction, nothing in the court's dismissal would prevent plaintifffrom filing a new action

against Ingram and von Jess.

       Plaintiff apparently seeks Rule 60(b)(6) reliefbecause, ifhe filed a new action, the section

1983 claims that he seeks to pursue against Ingram and von Jess would be vulnerable to challenge

based on the governing three-year statute of limitations.     See,~, Nat'l Adver. Co. v. City of


Raleigh, 947 F.2d 1158, 1161-62 (4th Cir. 1991) (applying three-year statute oflimitations in North

Carolina for claims under 42 U.S.C. § 1983). Notably, plaintiffdiscovered the facts underlying his

cause of action on or about November 24, 2003. See Am. CompI. , 35 ("On or about [that date],

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Plaintiff was also informed that ... Ingram used illegal means to obtain the subject e-mail

message."). Accordingly, the statute of limitations seemingly began to run on that date, and it

seemingly expired three years later, on November 24, 2006. 1

        Unfortunately for plaintiff, plaintiffmade two tactical decisions with adverse affects. First,

he waited until April 27, 2006, to file his original complaint. By waiting to file suit over two years

into the statute oflimitations, plaintiffleft little time ifa court were to determine that exhaustion was

required. Second, when plaintiff filed suit, he had not exhausted his administrative remedies. In

light ofthe Fourth Circuit case law that this court cited in its September 13, 2007 order, this tactical

choice was poor. Cf. Aikens, 513 F. Supp. 2d at 591.

        Plaintiff may not avoid the statute of limitations problem he now faces by deft use of Rule

60(b)(6). Stated simply, "extraordinary circumstances" do not arise due to time limitations that

otherwise apply, and a plaintiff cannot use Rule 60(b)(6) to evade such time limitations. See,~,

Ackermann, 340 U.S. at 197-200 (Rule 60(b)(6) reliefinappropriate where movant made deliberate

choice not to appeal judgment revoking his citizenship because litigants must be held accountable

for their tactical choices, even where the consequences are weighty); Dowell, 993 F.2d at 48 ("It is

a well settled principle of law that a Rule 60(b) motion seeking relief from a final judgment is not

a substitute for a timely and proper appeal."); Home Port Rentals, Inc. v. Ruben, 957 F.2d 126, 133

(4th Cir. 1992) ("A litigant may not move for relief under Rule 60(b)(6) in order to circumvent the

applicable time limits on motions under other subsections of Rule 60(b)."); In re Nazi Era Cases

Against German Defendants Litig., 236 F.R.D. 231, 235-38 (D.N.J. 2006) (denying Rule 60(b)(6)

relief where movant made tactical choice to voluntarily dismiss his lawsuit in hopes of obtaining


       IThe court need not resolve this issue definitively. If plaintiff files a new action, and
defendants assert the statute-of-limitations defense, the court will then address the issue.

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relief through non-judicial international body, but was unable to convince international body to

recognize his claim and only thereafter prayed for relief from his own dismissal). Likewise, Rule

60(b)(6) does not provide relieffor an attorney's garden-variety tactical choices that ultimately prove

incorrect.   See,~, Ackermann, 340 U.S. at 198; Inre Va. Info. Sys. Corp., 932 F.2d 338,342 (4th


Cir. 1991), abrogated in part on other grounds Qy Barnhill v. Johnson, 503 U.S. 393 (1992); Medlock

v. Rumsfeld, 336 F. Supp. 2d 452,469 n.2 (D. Md. 2003), affd, 86 Fed. Appx. 665 (4th Cir. 2004)

(per curiam) (unpublished). Plaintiffneeded only to have exhausted remedies with ABCMR before

filing suit within the three-year statute oflimitations. He did not and cannot now find comfort within

Rule 60(b)(6).

        In sum, plaintiffhas not demonstrated the "extraordinary circumstances" necessary to justify

Rule 60(b)(6) relief.    Indeed, plaintiff does not even attempt to explain what extraordinary

circumstances are present in his case. See generally PI.' s Mem. Thus, the court need not address

defendants' other arguments, and plaintiffs motion for relief pursuant to Federal Rule of Civil

Procedure 60(b)(6) is denied.

                                                  III.

        For the reasons discussed above, plaintiff s motion for relieffrom the court's September 13,

2007 order and judgment [D.E. 62] is DENIED. The court's dismissal of plaintiffs claims on

September 13, 2007, was without prejudice. Thus, plaintiff may file a new action against Ingram

and von Jess if he so desires.

        SO ORDERED. This ~ day ofNovember 2008.




                                                           JAM S C. DEVER III
                                                           United States District Judge

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